                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                    3:13-CR-00263-RJC
    USA                                             )
                                                    )
      v.                                            )                    ORDER
                                                    )
    PATRICK GERARD CHAMBERS (2)                     )
                                                    )

           THIS MATTER comes before the Court upon the defendant’s pro se Motion for

Production of Court Records. (Doc. No. 403).

           The defendant asserts that Rule 34 of the Federal Rules of Civil Procedure requires the

government to provide copies of listed documents, including grand jury minutes, jail records, his

and all co-defendants’ plea agreements, and “the investigative report” in his case. (Id.). The

Federal Rules of Civil Procedure govern civil actions and proceedings in United States district

courts. Fed. R. Civ. P. 1. Here, the defendant asserts that the documents are requested to better

aid the legal process of post-conviction relief, (Id. at 1), but the record not reflect that the

defendant is a party in any civil action in this district. Therefore, Rule 34 is inapplicable.1

           IT IS, THEREFORE, ORDERED that the defendant’s Motion for Production of Court

Records is DENIED.

                                                Signed: March 11, 2016




1
 If the defendant files a motion to vacate under 28 U.S.C. § 2255, discovery would be controlled
by Rule 6 of the Rules Governing Section 2255 Proceedings and would only be allowed with a
showing of good cause.


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